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                        IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF DELAWARE


  SEMCON TECH, LLC

                   v.                                           C.A. No. 12-251-RGA

  QUALCOMM INC.



              lf!!Ol!@@5Jll ORDER OF DISMISSAL WITH PREJUDICE

          On this day, Plaintiff Semcon Tech, LLC ("Plaintiff') and Defendants Qualcomm

  Incorporated and Qualcomm Atheros, Inc. ("Qualcomm") announced to the Court that

  they have settled Plaintiffs claims for relief against Qualcomm and Qualcomm's

  counterclaims for relief against Plaintiff asserted in this case. Plaintiff and Qualcomm

  have therefore requested that the Court dismiss Plaintiffs claims for relief against

  Qualcomm with prejudice and dismiss Qualcomm's counterclaims for relief against

  Plaintiff without prejudice as moot and with all attorneys' fees, costs and expenses taxed

  against the party incurring same. The Court, having considered this request, is of the

  opinion that their request for dismissal should be granted.

          IT IS THEREFORE ORDERED that Plaintiffs claims for relief against

  Qualcomm are dismissed with prejudice and Qualcomm's counterclaims for relief against

  Plaintiff are dismissed without prejudice as moot. IT IS FURTHER ORDERED that all

  attorneys' fees, costs of court and expenses shall be borne by each party incurring the      I
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